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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   JOHN DOE
                                                              CIVIL ACTION
            v.
                                                              NO. 19-1693
   VALLEY FORGE MILITARY
   ACADEMY AND COLLEGE

                                  ORDER RE: MOTION TO REMAND

         AND NOW, this 15th day of July, 2019, for the reasons stated in the foregoing

memorandum, it is hereby ORDERED as follows:

         1. Plaintiff’s Motion to Remand (ECF 6) is GRANTED;

         2. This case is REMANDED to the Court of Common Pleas of Philadelphia County,

             Pennsylvania; and

         3. Defendant’s partial Motion to Dismiss (ECF 5) is DENIED as MOOT.

The clerk shall close this case.


                                                                        BY THE COURT:


                                                                        /s/ Michael M. Baylson
                                                                        Michael M. Baylson, U.S.D.J.



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